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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

United States of America,

      Plaintiff,
v.                                                  MEMORANDUM OPINION
                                                          AND ORDER
                                                    Crim. No. 14‐20 (08) (MJD)
Sergio Nunez‐Hernandez,

      Defendant.
___________________________________________________________________________________

      LeeAnn K. Bell, Assistant United States Attorney, Counsel for Plaintiff.

      Michael C. Hager, Counsel for Defendant.
______________________________________________________________________

      This matter is before the Court on Defendant’s Motion for Compassionate

Release pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). [Doc. No. 882]

I.    Background

      Defendant pleaded guilty to Count 1 of the Superseding Indictment which

charged Conspiracy to distribute 500 grams or more of a mixture and substance

containing a detectable amount of methamphetamine, 100 grams or more of a

mixture and substance containing a detectable amount of heroin, and 500 grams

or more of a mixture and substance containing a detectable amount of cocaine in

violation of 21 U.S.C. §' 841(a)(1), 841(b)(1)(A) and 846. On January 21, 2016,


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Defendant was sentenced to term of imprisonment of 120 months, with no

supervision to follow. He is currently serving his sentence at the Reeves I & II,

Correctional Institution in Pecos, Texas, and his release date is April 27, 2024.

II.   Motion to Reduce Sentence

      Pursuant to 18 U.S.C. § 3582(c)(1)(A), the court may, upon a defendant’s

motion following exhaustion of administrative remedies or the lapse of 30 days

from the receipt of such a request by the warden of the defendant’s facility,

whichever is earlier, “reduce the term of imprisonment (and may impose a term

of probation or supervised release with or without conditions that does not

exceed the unserved portion of the original term of imprisonment), after

considering the factors set forth in section 3553(a) to the extent that they are

applicable, if it finds that‐‐ (i) extraordinary and compelling reasons warrant

such a reduction . . . and that such a reduction is consistent with applicable

policy statements issued by the Sentencing Commission.”

      The applicable policy statement with respect to motions to reduce sentence

is set forth in U.S.S.G. Section 1B1.13. Pursuant to this policy statement, when

deciding a motion for a sentence reduction under § 3582(c), the Court must

determine whether extraordinary and compelling reasons exist to warrant such



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relief, whether the defendant is a danger to the safety of any other person or to

the community and whether a sentence reduction is consistent with the policy

statement. U.S.S.G. § 1B1.13. This policy statement also defines “extraordinary

and compelling reasons” due to medical condition of the defendant as follows:

      (ii) The defendant is—

             (I) suffering from a serious physical or medical condition,

             (II) suffering from a serious functional or cognitive
             impairment, or

             (III) experiencing deteriorating physical or mental health
             because of the aging process,

      that substantially diminishes the ability of the defendant to provide
      self‐care within the environment of a correctional facility and from
      which he or she is not expected to recover.

U.S.S.G. § 1B1.13, cmt. 1(A).


      On July 14, 2020, Defendant submitted a request for compassionate release

based on his medical conditions which put him at risk for developing serious

illnesses from COVID‐19, and that he was experiencing shortness of breath. His

request was denied on July 22, 2020 due to the fact he is subject to an active ICE

Detainer. (Doc. No. 882‐1.) A removal hearing has been scheduled for December

4, 2020. (Doc. No. 907.)


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      Defendant’s motion is based on his concerns that if he is exposed to

COVID‐19, he suffers from chronic health conditions that increase his risk of

serious illness, including obesity, high blood pressure, hyperlipidemia, sleep

apnea, short breathing, developing asthma, high cholesterol, anxiety and

depression. He claims that the prison facility where he is housed does not

provide him adequate medical care.

      Defendant further asserts that he has a release plan in place to reside with

a relative in Minnesota or a half‐way house close to family in Minnesota, and

that he has a large family for which he is responsible. He notes that while on

pretrial release for approximately one and one‐half years, he abided by all

conditions of release.

      Defendant further claims that while serving his sentence, he has incurred

no disciplinary record and has participated in a number of courses in prison,

including courses to improve his career skills.

      The government asserts that with the exception of his claim that he suffers

from shortness of breath, Defendant has not exhausted his administrative

remedies because he did not include in his request to the Warden the other

medical conditions raised in this motion. Based on the record before it, it is clear



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that the prison facility would have been aware of Defendant’s medical history as

it had access to his prison medical records. Those records clearly indicate that

Defendant had issues with hyperlipidemia, anxiety disorder, sleep apnea,

obesity and unspecified chest pain. Accordingly, the Court finds that

Defendant’s request to the Warden is sufficiently similar to the motion before the

Court such that the Court can find he has exhausted his administrative remedies.

See United States v. Gluzman, 7:96‐cr‐323, 2020 WL 4233049, at *11‐12 (S.D.N.Y.

July 23, 2020) (finding § 3582(c)(1)(A) contains no requirement that the basis for a

motion for compassionate release must be identical to the basis of the

defendant’s request to the warden).

      As to the merits of Defendant’s motion, the Court finds that Defendant has

failed to show “extraordinary and compelling reasons” due to medical

conditions to warrant relief. While his medical records indicate that Defendant

has been identified as having issues with hyperlipidemia, high cholesterol,

anxiety, sleep apnea and obesity, those records further indicate Defendant is

receiving appropriate medical attention to those conditions.

      Further, the BOP has in place protocols such as social distancing, hygienic

and cleaning protocols and quarantining and treatment of inmates with



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symptoms of COVID‐19 and those who come into contact with them. See

www.bop.gov/coronavirus/index.jsp. At this time, the facility at which

Defendant is housed, Reeves I & II, CI, reports one current case involving an

inmate, one death of an inmate, and that 12 inmates have recovered.

      Defendant has also failed to demonstrate that he is no longer a danger to

the community. Defendant was convicted of conspiracy to distribute a

significant amount of controlled substances; over 700 grams of heroin and 7

pounds of methamphetamine. He was the highest ranking member of the drug

conspiracy in Minnesota and recruited others to take the risks of possessing the

drug. Given his role in this offense conduct, which inevitably caused devastation

to the community in which the drugs were sold, Defendant poses a danger to the

community. See United States v. Cantu, 935 F.2d 950, 952 (8th Cir. 1991)

(recognizing that large scale drug trafficking is a serious danger to the

community).


      A sentence reduction in this case would also be contrary to the factors set

forth in 18 U.S.C. § 3553(a). A sentence reduction would not reflect the

seriousness of the offense of conviction, promote respect for the law or provide a

just punishment. In addition, Defendant has only served a little more than one


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half of his 120 month sentence, therefore a sentence reduction would create

unwarranted sentencing disparities among defendants and would not afford

adequate deterrence for the offense committed.


      IT IS HEREBY ORDERED that Defendant’s Motion For Compassionate

Release pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) [Doc. No. 882] is DENIED.

Date: November 12, 2020

                                            s/ Michael J. Davis
                                            Michael J. Davis
                                            United States District Court




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